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      12
                                       UNITED STATES DISTRICT COURT
      13
                                     NORTHERN DISTRICT OF CALIFORNIA
      14
                                           SAN FRANCISCO DIVISION
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      16
           ASETEK DANMARK A/S,                            Case No. 3:19-cv-00410-EMC
      17
                            Plaintiff and                 DEFENDANTS’ NOTICE OF MOTION AND
      18                    Counter-defendant,            MOTION TO STRIKE EXHIBIT 275

      19          v.                                      DATE:         MAY 5, 2022
                                                          TIME:         1:30 PM
      20   COOLIT SYSTEMS, INC.,                          LOCATION:     COURTROOM 5, 17TH FLOOR
                                                          JUDGE:        HON. EDWARD M. CHEN
      21                    Defendant and
                            Counter-claimant,
      22
           CORSAIR GAMING, INC. and CORSAIR
      23   MEMORY, INC.,

      24                     Defendants.

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      26       REDACTED/PUBLIC VERSION OF DOCUMENT FILED UNDER SEAL
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COO                                                                          CASE NO. 3-19-CV-00410-EMC
                                                                 DEFENDANTS’ NOTICE OF MOTION AND MOTION
                                                                                     TO STRIKE EXHIBIT 275
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                                                                             -i-            DEFENDANTS’ NOTICE OF MOTION AND MOTION
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COO                                                                                                                     CASE NO. 3-19-CV-00410-EMC
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                                                                                                                         TO STRIKE EXHIBIT 275
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       1                         NOTICE OF MOTION AND MOTION TO STRIKE

       2   TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORDS:

       3          PLEASE TAKE NOTICE that on May 5, 2022 at 1:30 p.m., or as soon thereafter as the matter

       4   may be heard, in this Court, located at San Francisco Courthouse, Courtroom 5 – 17th Floor, 450

       5   Golden Gate Ave., San Francisco, CA 94102, Defendants CoolIT Systems, Inc., Corsair Gaming, Inc.,

       6   and Corsair Memory, Inc. will and hereby do move to strike Exhibit 275. This motion is based upon

       7   this notice of motion and motion, the attached memorandum, the accompanying declaration of Reuben

       8   H. Chen and exhibits thereto, and upon such other and further matters, papers, and arguments as may

       9   be submitted to the Court at or before the hearing on this motion.

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       1                         MEMORANDUM OF POINTS AND AUTHORITIES

       2   I.      INTRODUCTION

       3           During redirect at Dr. Tuckerman’s December 20, 2021 deposition, Asetek’s counsel

       4   introduced previously unproduced Exhibit 275 for the first time (almost four months after the close of

       5   fact discovery) and asked a series of leading questions to elicit information from Dr. Tuckerman.

       6   Clearly, Defendants and Dr. Pokharna had never had an opportunity to properly investigate or address

       7   this document or testimony. Exhibit 275 was neither produced nor included or cited to in Dr.

       8   Tuckerman’s Reports, even though CoolIT served document requests during fact discovery calling for

       9   this material.   Defendants are highly prejudiced by Asetek’s belated actions, and fairness requires

      10   Exhibit 275, and any opinions based thereon, be struck under Rule 37.1

      11   II.     FACTUAL BACKGROUND

      12           Dr. Tuckerman opines in his Invalidity Report that the Antarctica sample Asetek contends is

      13   prior art to the Asserted CoolIT Patents has “microchannels,” by stating, without empirical evidence,

      14   that it includes a heat spreader plate with adjacent fins where “[t]he space between adjacent fins is

      15   about 0.9 – 1.0 mm.” (Ex. 1, (11/3/2021 Tuckerman Rep. ¶57). But, he subsequently admitted his

      16   report lacks any evidence showing he measured the width of the heat spreader plate channels. (Ex. 2,

      17   12/20/2021Tuckerman Depo. Tr. 138:17-20.) Records do not exist that show Dr. Tuckerman’s

      18   measurements or demonstrate his methodology. (See id., 138:14-16; Ex. 3, 14:23-15:3.) Conversely,

      19   Dr. Pokharna served his invalidity rebuttal report on December 8, 2021 highlighting the shortcomings

      20   in Dr. Tuckerman’s Invalidity Report for “microchannels” and providing Dr. Pokharna’s methodology

      21   (i.e., using electronic vernier calipers) and data showing the Antarctica sample’s channel widths

      22   exceed 1.0 mm. (See Ex. 4 Pokharna Reb. Rep. on Invalidity, ¶¶72-74.) Afterward, Dr. Tuckerman

      23   attempted to cure his deficient testimony at his December 20, 2021 deposition by providing narrative,

      24   non-responsive answers to counsel’s questions on the evidence he cited in his Invalidity Report for

      25   “microchannels.” (See Ex. 2, 137:20-140:23.)

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             Defendants have also concurrently filed a Daubert motion on Dr. Tuckerman’s opinions, including
      28   those related to Exhibit 275.
COO                                                                              CASE NO. 3-19-CV-00410-EMC
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       1   whether the blades depicted in Exhibit 275 machined the grooves in the Antarctica physical sample

       2   that he inspected and relied on in his Invalidity Report. He just received the physical sample from

       3   counsel without knowing where it came from or whether it was representative:

       4            A. And I’ll also mention I don’t know that the device I got is representative. I
                    mean, you know, there is manufacturing variations. So, you know, this is one
       5            sample. Why did they have the sample; maybe it was a reject they happened
                    to have lying around out of spec. I just don’t know. You know, I only know
       6            what I measured.
       7            Q. Right. There is no way for you to say with certainty that the channel widths of
                    the Antarctica device that was on sale prior to August 9, 2007 was 1 millimeter or
       8            less; correct?
       9            A. Yeah. I would have no way of knowing that. I was given a device that I
                    understood to be representative, and you know, I measured it.
      10

      11   (Id., 141:16-142:8) (objections omitted); (see also Ex. 3, 25:4-6.) Moreover, Dr. Tuckerman did not

      12   personally review or inspect the blades, box, measuring tool, or document shown—he never even saw

      13   a copy in a language he could read—and he did not independently measure the blade’s thickness. (Ex.

      14   3, 20:25-23:7. He does not know who took the measurement. (Id., 23:2-4.) He also did not speak to

      15   anyone at Asetek to confirm what the materials depicted were and he is unable to independently verify

      16   what the “machining document” (which is not the actual prior art device) says—he was not provided

      17   the document, he does not speak or read Danish, and he never had the document translated to English.

      18   (Ex. 5,13:1-13), (Ex. 3, 18:22-19:2, 22:4-16, 24:20-25.)         Altogether, Dr. Tuckerman has no

      19   independent basis to connect the Antarctica physical sample to the materials depicted in Exhibit 275—

      20   he just has Asetek’s attorneys’ say-so.

      21   III.     LEGAL STANDARD

      22            Rule 26(a)(2)(B) requires an expert witness’s opening report contain a “complete statement of

      23   all opinions the witness will express and the basis and reasons for them,” including the “facts or data

      24   considered by the witness in forming them.” Fed. R. Civ. P. 26(a)(2)(b). “When a party fails to

      25   disclose information required by Rule 26, Rule 37(c)(1) provides that the improperly withheld

      26   information should be excluded, unless the failure to disclose is ‘substantially justified or harmless.’”

      27   Ingenco Holdings v. Ace Am. Ins., 921 F.3d 803, 821 (9th Cir. 2019) (quoting Fed. R. Civ. P. 37(c)(1)).

      28   “The Ninth Circuit affords district courts ‘particularly wide latitude’ in applying Rule 37(c)(1) to
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       1   exclude information that a party failed to provide under Rule 26.” See MLC Intell. Prop. v. Micron

       2   Tech., 10 F.4th 1358, 1370 (Fed. Cir. 2021); see also Elliott v. Google, 860 F.3d 1151, 1161 (9th Cir.

       3   2017) (affirming exclusion of evidence not disclosed during discovery).

       4   IV.     ARGUMENT

       5           Dr. Tuckerman refers to Exhibit 275 for the first time during his December 20, 2021 deposition

       6   as corroboration for the “microchannel” opinion he provides at paragraph 57 of his Invalidity Report.

       7   Asetek’s counsel first introduced this new, unproduced document during redirect examination. The

       8   image and depicted materials were never produced during fact discovery, and exactly what Exhibit

       9   275 shows is unclear. Exhibit 275’s minimal probative value is far outweighed by the confusing effect

      10   it would have on jurors. Critically, Asetek’s failure to disclose Exhibit 275 was neither substantially

      11   justified nor harmless, especially because the image and depicted materials were called for by at least

      12   CoolIT’s Request for Production Nos. 99 and 102. Asetek’s malfeasance warrants the Court’s exercise

      13   of discretion to exclude Exhibit 275 and Dr. Tuckerman’s testimony that relies on Exhibit 275 under

      14   Rule 37.

      15           A.     Asetek introduced Exhibit 275 for the first time during redirect examination at
                          Dr. Tuckerman’s December 20, 2021 deposition
      16

      17           Asetek never produced Exhibit 275 or the materials depicted in Exhibit 275 during fact

      18   discovery, even though at least CoolIT’s Requests for Production Nos. 99 and 102 call for them (Ex.

      19   62), and Asetek agreed to produce responsive documents (See Ex. 7.3)Nor does Exhibit 275 appear in

      20   Dr. Tuckerman’s Invalidity Report. (See Ex. 8 (Materials Considered.) Rather, Dr. Tuckerman

      21

      22   2
            Request for Production No. 99 recites “All Documents concerning the Antarctica “Water Chill”
           Liquid Cooling Kit as it existed before August 9, 2007” and Request for Production No. 102 recites
      23   “All Documents concerning the design, structure, and operation of the Antarctica “Water Chill” Liquid
           Cooling Kit as it existed before August 9, 2007, including but not limited to user manuals, installation
      24   manuals, technical manuals, specifications, engineering drawings, and other documentation.”
      25   3
             Specifically, Asetek stated with respect to Request No. 102 that it would “conduct a reasonable
           search for documents sufficient to show the structure of the Antarctica device as it existed before
      26   August 9, 2007 and will produce any such relevant, non-privileged, non-protected documents.” To
           the extent Asetek argues that it objected to parts of Request for Production Nos. 99 or 102 that would
      27   have covered Exhibit 275 and the materials depicted in Exhibit 275, Defendants invite the Court to
           review its unparticularized objections for a legitimate basis. Regardless, Asetek cannot have it both
      28   ways, objecting to production and then introducing a called-for document when it suits them.
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       1   admitted that Asetek’s counsel provided Exhibit 275 to him after the parties exchanged expert reports.

       2   (Ex. 2, 139:15-18), (Ex. 3, 18:22-20:21, 22:10-16, 24:20-25:6.) Asetek’s untimely disclosure of

       3   Exhibit 275—almost four months after close of fact discovery—warrants exclusion under Rule 37.

       4          Exhibit 275 is not simply an errantly omitted piece of evidence to Dr. Tuckerman’s Invalidity

       5   Report. It is the product of pure attorney argument. Dr. Tuckerman has no idea whether the blades

       6   shown in Exhibit 275 were used to machine the grooves in the Antarctica physical sample he inspected

       7   and relied on in his Invalidity Report. He did not machine the heat spreader plate to the Antarctica

       8   sample with the blades or watch it being done. He just received the Antarctica sample from counsel

       9   without an independent basis to understand where it came from. (Id., 141:16-142:8); (see also Ex.3,

      10   25:4-6.) He admitted that never personally reviewed or inspected the blades, tool, box, or document

      11   depicted in Exhibit 275, and he did not independently measure the blade’s thickness. (Ex. 3, 20:25-

      12   23:7.) He does not even know who took the measurement. (Id., 23:2-4.) He did not speak to anyone

      13   at Asetek to confirm what the materials depicted were and he is unable to independently verify what

      14   the “machining document” says—he was not provided the document, he does not speak or read

      15   Danish, and he never had or even asked that the document be translated to English. (Ex. 5, Tuckerman

      16   12/22/21 Depo. Tr., 13:1-13), (Ex. 3, 18:22-19:2, 22:4-16, 24:20-25.) The image in Exhibit 275 is

      17   unquestionably hearsay.

      18          But Dr. Tuckerman relies exclusively on representations from Asetek’s counsel that the image

      19   in Exhibit 275 shows an Antarctica “machining document,” blades used to cut the grooves in the

      20   Antarctica device (but not even the physical sample Dr. Tuckerman relies on in his Invalidity Report),

      21   a box containing the blades that were used to cut the grooves in the Antarctica device, and a tool to

      22   measure the blade thickness. (Ex. 2, 139:15-18), (Ex. 3, 18:22-20:21, 22:10-16, 24:20-25:6.) Dr.

      23   Tuckerman cannot contextualize the image in Exhibit 275 without assuming representations from

      24   Asetek’s counsel as true. Those representations constitute a second layer of hearsay.

      25          His opinions on Exhibit 275 related to the Antarctica sample’s “microchannels” are thus based

      26   on double hearsay and inherently circumspect. Accord Tubular Rollers, LLC v. Maximus Oilfield

      27   Prods., LLC, No. 4:19-cv-03113, 2021 WL 5991744, at *1 (S.D. Tex. Dec. 16, 2021) (“This Court

      28   has not found any authority—nor has it been cited to any authority—that an expert can reasonably rely
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       1   on double hearsay relayed to him/her by an employee of a party with a vested interest in the outcome

       2   of the case.”). Permitting him to opine on what the image in Exhibit 275 does or does not show is

       3   inappropriate for the reasons set forth in Defendants’ Daubert motion. Allowing Exhibit 275 to remain

       4   in the record would be highly prejudicial where Defendants were unable to conduct discovery or

       5   provide expert testimony from Dr. Pokharna on the exhibit.

       6          B.         Asetek cannot substantially justify its failure to timely disclose Exhibit 275
       7          There is no justification for Asetek’s last-minute introduction of Exhibit 275. Antarctica is an

       8   Asetek product, and any supporting materials are exclusively within Asetek’s custody and control. Cf.

       9   MLC Intell. Prop., 10 F.4th at 1371 (striking late-disclosed reliance on evidence that was in plaintiff’s

      10   possession “from the outset of the case”). Asetek was obligated to produce Exhibit 275 and its

      11   depicted materials during fact discovery, as these materials were called for by at least CoolIT’s

      12   Document Request Nos. 99 and 102. It did not. Asetek should not be allowed to produce Exhibit 275

      13   when it suits them.

      14          Regardless, Dr. Tuckerman should have had access to supporting materials well before the

      15   November 3, 2021 deadline for his Invalidity Report. All of Dr. Tuckerman’s materials considered

      16   needed to be included in his Invalidity Report. Exhibit 275 was not. (See Ex. 8.) Asetek’s failure to

      17   disclose Exhibit 275 stands in stark contrast to the photographs and videos CoolIT produced during

      18   fact discovery that show Dr. Pokharna’s measurements of the grooves in the Antarctica sample’s heat

      19   spreader plate.

      20          C.         Asetek’s untimely disclosure has harmed Defendants.
      21          Defendants have been prejudiced by Asetek’s untimely disclosure of Exhibit 275. Asetek

      22   waited until almost four months after the close of fact discovery to introduce Exhibit 275 and did so

      23   only during redirect after suspending cross-examination from Defendants’ counsel. Defendants never

      24   had the opportunity to seek discovery related to Exhibit 275 even though its production would have

      25   been required under at least Document Request Nos. 99 and 102. Expert discovery has concluded, the

      26   case schedule does not allow for supplemental rebuttal reports, and Dr. Pokharna will not have an

      27   opportunity to evaluate and provide opinions related to the image shown in Exhibit 275. Defendants

      28   are unfairly harmed by the inability to investigate Exhibit 275, or to provide expert testimony regarding
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                                                                                  MOTION TO STRIKE EXHIBIT 275
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       1   Exhibit 275 and Dr. Tuckerman’s opinions related to Exhibit 275. Moreover, the probative value of

       2   Exhibit 275 is suspect on its face and it is absent from Dr. Tuckerman’s Invalidity Report without

       3   substantial justification. Exhibit 275 should be excluded under Rule 37.

       4           D.     All expert testimony relying on the excluded evidence should be struck.
       5           Because Asetek cannot rely upon Exhibit 275, opinions related to the exhibit that Dr.

       6   Tuckerman rendered at his depositions should also be struck. Under Rule 37, the appropriate sanction

       7   for Asetek’s failure to timely disclose its evidence during fact discovery is exclusion, as courts in this

       8   district and throughout the Ninth Circuit have routinely found. See, e.g., MLC Intell. Prop. v. Micron

       9   Tech., No. 14-cv-03657-SI, 2019 WL 2863585, at *14-15 (N.D. Cal. July 2, 2019) (striking under

      10   Rule 37 expert opinions for which factual basis was not timely disclosed during fact discovery), aff’d,

      11   10 F.4th at 1373; Ingenco Holdings, 921 F.3d at 821 (affirming Rule 37 exclusion of evidence not

      12   timely disclosed); Elliott v. Google, 860 F.3d 1151, 1161 (9th Cir. 2017) (same).

      13   V.      CONCLUSION

      14           For the foregoing reasons, Defendants respectfully request that the Court grant their Motion

      15   to Strike Exhibit 275, and any expert testimony related to Exhibit 275.

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COO                                                                                CASE NO. 3-19-CV-00410-EMC
                                                             7.              DEFENDANTS’ NOTICE OF MOTION AND
                                                                                  MOTION TO STRIKE EXHIBIT 275
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COO                                                                  CASE NO. 3-19-CV-00410-EMC
                                                8.             DEFENDANTS’ NOTICE OF MOTION AND
                                                                    MOTION TO STRIKE EXHIBIT 275
